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                           UM TED STATES DISTRICT COIJRT
                           SOW HERN DISTRICT OF FLO RIDA

                      CaseNo.21-80758-CV-M IDDLEBROOK S& r= on

  PNC BANK,NATIONM ASSOCIATION,

        Plaintiff,



  LILIA BELKOVA,efJ/.,

        Defendants.
                                    /

   O RD ER D EN YIN G PLM M IFF'S M O TIO N FO R EN TRY O F JUD IC IAI,D EFA U LT

        THIS CAUSE comesbeforethe Courton PlaintiY sM otion forEntry ofJudicialDefault

  AgainstDefendants Lilia Belkovw individllnlly,and Lilia Belkovw ms successor trustee ofthe

  LandTnzstAgreementNo.072003(thettBelkovaDefendants''),sledonNovember16,2021.(DE
  70).PlnintiffinitiatedthisforeclosureactiononApdl23,2021.(DE 1).OnJune7,2021,Plnintif
  sled a Second Amended Complnint.(DE 16).On September 7,2021- the deadline forthe
  Belkova Defendnnts to respond to PlnintiY s Second Am ended Com plnint- the Belkova

  Defendants filed a Motion to Dismiss.(DE 42).Idenied the Belkova Defendants'M otion to
  Disnlisson October28,2021,and,msa result,the Belkova Defendantshad tmtilNovem ber 12,

  2021toEleanAnswer.(DE 61).
         The Belkova Defendnnts did notm eetthe November 12,2021 deadline,norhave they

  movedforan extension oftimeto do so.Assuch,Ple tiffnow movesforan entry ofjudicial
  defaultagainsttheBelkovaDefendantsunderFederalRuleofCivilProcedure55(a).(DE 70).For
  the remsonsexplnined below ,PlaintiY sM otion isdenied.
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         FederalRuleofCivilProcedure55(a)provides:tçW hen apartyagninqtwhom ajudm ent
  foram rmativereliefissoughthmsfailedtoplead orotherwise defend,andthatfailure isshown by

  am davitorotherwise,theclerk mustentertheparty'sdefault.''Fed.R.Civ.P.55(a).W hileitis
  true thattheBelkova Defendnntsdid notanswerPlaintic sSecond Am ended Complaintby their

  deadline to do so,itis also clear thatthey are attem pting to otherwise defend this action.The

  Defendantshavetwiceretninedcounselandhavepreviously filed aM otiontoDismiss(DE 42).
  Ratherthan indicating an intentnotto defend thisaction,itappearsthatthe Belkova Defendants

  have failed to serve a timely Answerbecause they have struggled to retain counsel:their& st

  cotmselsledanAmended MotiontoW ithdraw onSeptember8,2021(DE 41),andtheiTsecond
  cotmselfiled aM otion to W ithdraw onNovember15,2021 (DE 67).Ideclineto enterjudicial
  defaultage stthe currently unrepresented Defendantsbeforethey havean opportunity to obtnin

  new cotm sel.

         However,wllileitisnotappropdatetograntPlnintic sM otion forEn> ofJudicialDefault
  attllistime,I am concem ed by the Belkova Defendsnts'behavior in litigating this action.'
                                                                                          Fhe

  BelkovaDefendants'formercounselindicatedthatthey ç:refused to authorize (cotmselqto agree
  toPlnintic sproposeddiscoveryplan anddeadlinesortoamediator.''(DE 54at! 15).And asof
  this week,the Belkova Defendants'second counsel fotmd it necessary to withdraw due to

  irreconcilabledifferencesintheattomey-clientrelationship.(DE 67).Thisactionhasbeenpending
  fornearly seven months.To the extentthatthe Belkova Defendants'refusalto cooperate w1111

  counselhasconG butedto theirinabilityto retain counselorto the delay in theprop ession ofthis

  cmse,Defendantsare advised thatsuch conductm ay be cause for sanctions.See Fed.R.Civ.P.

  11418;see also '/lflwlv.Blakeney,8 F.3d 788,790 CtlDlismissalmay be appropdate when a
  Eparty'slrecalcikanceisdueto wilfulness,bad faith orfau1t.'');Malautea v.SuzukiMotorCo.,


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  ftd,987 F.2d 1536,1543-44 (upholdingtheentry ofdefaultjudgmentagainstdefendantsasa
  sanctionforfailuretocomplywithdiscoveryordersin badfaith).
         Accordingly,itisORDERED AI
                                  ND ADJUDGED thatPlaintic sM otion forEntry of

  JudicialDefault(DE 70)isDEM ED.

         SIGNEDinChambers,atWestPalmBeach,FloridathisZX
                                                      A         oNovember,2021.



                                             DO    D M .M IDDLEBROOK S
                                             UNITED STATES DISTRICT JUDGE

   CC*   Cotm selofRecord




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